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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF MISSISSIPPI


UNITED STATES OF AMERICA

V.                                                             CASE NO. 4:19-CR-22-NBB-JMV

DERRICK SPRUIELL

                            ORDER DENYING MOTION TO SEVER

        Presently before the court is the defendant Derrick Spruiell’s motion to sever. Upon due

consideration of the motion, the Government’s response, and applicable authority, the court finds

that the motion is not well taken and should be denied.

        On February 28, 2019, a federal grand jury sitting in this district returned a three-count

indictment charging defendant Spruiell and three others with violating federal drug laws. Spruiell

was charged in Count One (21 U.S.C. § 846) and Count Three (21 U.S.C. § 860). Spruiell has

now filed the present motion to sever arguing, as the Government notes, without citation to legal

precedent and without factual support, that his charge should be tried separately from his co-

defendants.

        A two-part analysis is required to assess Defendant’s motion. First, Rule 8(b) of the

Federal Rules of Criminal Procedure states:

     (b) Joinder of Defendants. The indictment or information may charge 2 or more defendants
     if they are alleged to have participated in the same act or transaction, or in the same series of
     acts or transactions, constituting an offense or offenses. The defendants may be charged in
     one or more counts together or separately. All defendants need not be charged in each count.

In the charge against this Defendant, Count One alleges he engaged in a conspiracy with three

other co-defendants to possess with intent to distribute more than 280 grams of cocaine base and

a mixture and substance containing methamphetamine, all in violation of 21 U.S.C. §§ 841(a)(1)

and 846. This satisfies Rule 8(b) because Spruiell is one of “two or more defendants. . . alleged
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to have participated in the same act or transaction” of a conspiracy to possess with intent to

distribute cocaine and a mixture and substance containing methamphetamine. Further, the

conspiracy charge in Count One is related to the charge of distributing a mixture and substance

containing cocaine base in Count Three because the counts allege the defendants participated in

the “same series of acts or transactions, constituting an offense or offenses.” The drugs in all

three counts are the same type, the alleged controlled purchases were allegedly made by the same

confidential informant from each defendant, and Count One alleging conspiracy overlaps in time

with the related underlying Counts Two and Three. Moreover, the alleged common objective of

all three counts is to sell illegal narcotics. Defendant was therefore properly joined.

       The court must find the joinder to appear to prejudice Defendant for severance to be

granted. Rule 14(a) of the Federal Rules of Criminal Procedure states:

   (a) Relief. If the joinder of offenses or defendants in an indictment, an information, or a
       consolidation for trial appears to prejudice a defendant or the government, the court may
       order separate trials of counts, sever the defendants’ trials, or provide any other relief that
       justice requires.

Defendant’s motion to sever alleges “the jury will have insurmountable difficulty in

distinguishing the alleged acts of this defendant from the alleged acts of his Co-defendants” and

other related theories regarding what the Fifth Circuit has termed “spillover” or “cumulative”

prejudice. See United States v. Sparks, 2 F.3d 574, 583-584 (5th Cir. 1993). The “mere presence

of a spillover effect does not ordinarily warrant severance.” Id. The Defendant has offered no

reason why the jury, given precise and proper jury instructions, would have “insurmountable

difficulty” distinguishing the alleged acts of Defendant from that of his co-defendants. Defendant

alleges inadmissible evidence may be introduced by his co-defendants to his prejudice but fails

to identify such inadmissible evidence. Defendant also contends he and his co-defendants will

receive fairer trials if tried alone. The Fifth Circuit has stated, however, “That certain defendants

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might have had a better chance of acquittal if tried separately does not establish their right to a

severance under Rule 14.” United States v. Scott, 555 F.2d 522, 531 (5th Cir. 1977). For these

reasons, the court finds Defendant has not established the appearance of prejudice, and he is not

entitled to relief under Rule 14(a).

       For the foregoing reasons, the motion is DENIED.

       SO ORDERED AND ADJUDGED, this 7th day of June, 2019.


                                                       /s/ Neal Biggers
                                                       NEAL B. BIGGERS, JR.
                                                       UNITED STATES DISTRICT JUDGE




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